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12
                         UNITED STATES DISTRICT COURT
13
                                 DISTRICT OF NEVADA
14

15
       OTILDA LAMONT, Derivatively on           Case No.: 15-00481-RFB-VCF
16     Behalf of CANNAVEST CORP.,
17                 Plaintiff,
18     v.                                       FED. R. CIV. P. 41(a)
                                                STIPULATION TO DISMISS
19     MICHAEL MONA, JR., BART P.
                                                DEFENDANT LARRY RASKIN
       MACKAY, and LARRY RASKIN,
20

21                 Defendants,
22
       and
23
       CANNAVEST CORP.,
24

25                Nominal Defendant.
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 1         Plaintiff Otlida Lamont (“Plaintiff”) and Defendants Michael Mona, Jr., Bart P.
 2 Mackay, Larry Raskin, and CV Sciences, Inc., formerly known as CannaVest Corp.

 3 (“Defendants”) stipulate as follows:

 4         On November 24, 2020, this Court granted Defendants’ Motion to Dismiss the
 5 Second Amended Complaint as to Defendant Raskin, without prejudice to Plaintiff’s

 6 ability to seek leave to add him to the action in the event Plaintiff later discovers

 7 grounds justifying such leave. ECF No. 84.

 8         On December 11, 2020, Plaintiffs filed a Third Amended Complaint (“TAC”)
 9 to address Plaintiffs’ standing as shareholders. ECF No. 87. The TAC still names

10 Raskin as a Defendant.

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     Case 2:15-cv-00481-RFB-VCF Document 92 Filed 12/29/20 Page 3 of 4




 1         Pursuant to the Court’s order on Defendants’ Motion to Dismiss the Second
 2 Amended Complaint, and Fed. R. Civ. P. 41(a)(1)(ii), all Parties who have appeared

 3 in this action stipulate to the dismissal without prejudice of Defendant Larry Raskin.

 4

 5 Dated: December 28, 2020

 6
      MATTHEW L. SHARP, LTD.                   PROCOPIO, CORY,
 7                                             HARGREAVES & SAVITCH, LLP
 8
 9    By: /s/ Thomas J. McKenna        By: /s/ S. Todd Neal
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22          Counsel for PLAINTIFFS                  Counsel for Defendants
                                                    MICHAEL MONA, JR., BART P.
23    IT IS SO ORDERED:                             MACKAY, LARRY RASKIN, and
                                                    CANNAVEST CORP.
24

25
   __________________________
                 IT IS SO ORDERED.
26 RICHARD F. BOULWARE, II
   United States District Judge
27                ________________________________
      DATED this 29th day of
                  United     December,
                          States       2020.Judge
                                 District
28

                                                2
     Case 2:15-cv-00481-RFB-VCF Document 92 Filed 12/29/20 Page 4 of 4




 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on December 28, 2020, I electronically transmitted the
 3 foregoing document using the CM/ECF system for filing, which will transmit the

 4 document electronically to all registered participants as identified on the Notice of

 5 Electronic Filing. Paper copies have been or promptly will be served personally on all

 6 parties not registered, and those indicated as non-registered participants.

 7
                                                   /s/ S. Todd Neal
 8                                                 S. Todd Neal
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